Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 1 of 15




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                    CASE NO.: 9:15-cv-81724-KLR

     EVA PEPAJ, an individual, TIFFANY
     TOTH, an individual, JESSICA
     HINTON, a/k/a JESSA HINTON, an
     individual, BROOKE JOHNSON, a/k/a
     BROOK TAYLOR, an individual,
     JESSE GOLDEN, an individual,
     DANIELLE RUIZ, an individual,
     JENNIFER ZHARINOVA, an individual
     and PAOLA CANAS, an individual,

            Plaintiff(s),

     vs.

     THE DIRTY MARTINI GRILLE, LLC,
     d/b/a DIRTY MARTINI, a Florida
     corporation; OM VENTURES USA,
     LLC, d/b/a DIRTY MARTINI and PAWN
     SHOP LOUNGE PALM BEACH, LLC
     d/b/a THE PAWN SHOP LOUNGE, a
     Florida corporation,

            Defendant(s).


                                    FINAL CONSENT JUDGMENT

            COMES NOW, the Plaintiffs and Defendants by and through their respective

     undersigned counsel hereby petition the court for entry of this Final Consent Judgment

     and would show unto the Court as follows:

            1)      This is a cause of action for personal injury and advertising injuries arising

     out of advertisements published by Defendants depicting images of Plaintiffs. The ads

     were published using multiple social media venues, including but not limited to Facebook,

     Instagram and Twitter.




                                       EXHIBIT "A"
Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 2 of 15




              2)     The ads depicted Plaintiffs' images in a manner that implied they were

     promoting the Defendants or would appear at Defendants' businesses on the advertised

     dates.

              3)     The use of the images was without Plaintiffs' consent or permission and

     constituted an unauthorized publication of Plaintiffs' names and likeness.

              4)     The use of such images was defamatory and constituted an invasion of

      Plaintiffs' right of privacy in the use of their image and likeness.

              5)     As a result, Plaintiffs suffered injuries to their reputation and careers the

      individual amount of damages are as follows: Eva Pepaj in the amount of $20,000,

     Tiffany Toth in the amount of $30,000, Jessica Hinton a/kJa Jessa Hinton in the amount

     of $20,000, Brooke Johnson a/kJa Brook Taylor in the amount of $15,000, Jesse Golden

      in the amount of $20,000, Danielle Ruiz in the amount of $15,000, Jennifer Zharinova in

      the amount of $15,000, and Paola Canas in the amount of $15,000. Plaintiffs also

      incurred attorney's fees and costs totaling $60,200 for a total judgment in the amount of

      $210,200.00.

              6)     At the time of the above actions, Defendants were insured by Policy

      Number 1RA3GL0000064-01 with the named insured as Pawn Shop Lounge Palm

      Beach, Inc. and Policy Number 1RA3GL0000098-01 with the named insured as DM

      Ventures USA, LLC, D/B/A Dirty Martini.

              7)     Defendants have been advised of the risks of an adverse jury verdict,

      coupled with statutory interest, the possibility of an award of punitive damages and

      attorney's fees and costs. Defendants have also been advised as to the lasting effects

      from the possibility of the judgments and the possibility of bankruptcy and inability to

                                                     2
Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 3 of 15




     discharge some of the potential claims. The purpose of this agreement is to provide

     some protection to Defendants from the risk of judgments that will be financially

     devastating and to avoid the excessive expense of defending this litigation.

            8)     The parties desire the entry of a judgment with the assistance of counsel,

     which will fix the damages at a specific value, arrived at by arms-length negotiations,

     that is representative of the good faith legal liability of Defendants and in an amount not

     tainted by bad faith, fraud, or collusion and to avoid the ongoing expense of the present

     litigation and significant judgment which may be entered against Defendants should this

     matter not be resolved as agreed to by the parties herein.

            9)     Defendants agree to continue prosecuting the declaratory judgment action

     between Defendants and Princeton Excess and Surplus Lines Insurance Company to

     final judgment. Defendants also hereby agree to assign all rights to recover under the

     above-cited policies for the injuries and damages consented to herein. Defendants

     reserve their right to recover any attorney's fees and costs owed to them by the

     insurance company. Plaintiffs consent and agree that they will not record this judgment

     or take any steps to recover on this judgment against Defendants, Defendants'

     representatives, agents, officers or directors. Instead, Plaintiffs agree and stipulate that

     they shall only seek to recover for the damages set forth in this Judgment from

     Princeton Excess and Surplus Lines Insurance Company or any company acting on

     Princeton's behalf as insurer of Defendants. Plaintiffs agree that they will not seek to

     recover from Defendants should this judgment in any way be challenged or deemed

     unenforceable against the insurer. The Parties agree this paragraph 9 is a material



                                                   3
Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 4 of 15




     term of the Agreement and such Final Consent Judgment would not be secured without

     this provision.

             10)    The parties recognize the contractual obligation of good faith to obtain

     approval of this Agreement. If for any reason this agreement or any procedure herein is

     not approved by the court in this lawsuit, or this agreement is construed so as to prevent

     the accomplishment of the aforementioned expressed intent of the parties hereto, then

     the Parties reserve the right to declare this Final Consent Judgment null and void ab

      initio and of no force and effect and will be entitled to "recommence", continue to

     prosecute or otherwise re-open claims against Defendants within 60 days of this

     agreement being declared null and void. In the event this agreement or any procedure

      herein is not approved by the court in this lawsuit and Plaintiffs have to continue to

      prosecute or otherwise re-open their claims against Defendants, this Agreement shall

      be null and void and not admissible in any such proceeding against Defendants for any

      purpose.

             11)       All parties agree to cooperate in the execution of any instrument

      reasonably required to effectuate the assignment(s) or other obligations under this

      agreement.

             12)       This Final Consent Judgment may be executed in counterparts and will be

      deemed effective upon execution by all parties. A facsimile copy of this document and

      all signatures thereon shall be considered an original for all purposes.

             13)       All parties acknowledge and agree that the other(s) will not have an

      adequate remedy at law in the event of a breach of any of the terms, provisions and

      covenants of this Agreement. All parties agree that they shall have the right to specific

                                                     4
Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 5 of 15




     performance, injunction and all other equitable remedies to enforce the terms and

     provisions of this Agreement.

            14)    All covenants and agreements contained in this Agreement by or on

     behalf of the parties hereto shall bind and inure to the benefit of the respective

     successors and assigns of the parities hereto whether so expressed or not.

            15)    This Agreement and the agreements and documents referred to herein

     contain the entire agreement and understanding among the parties hereto with respect

     to the subject matter hereof and supersede all prior agreements and understandings,

     whether written or oral. The Parties hereto are not relying, nor shall in any way rely,

      upon any oral or written agreements, representations, warranties, statements, promises,

     or understandings not specifically set forth in this Agreement. The parties hereto waive

      any right to assert or claim that they were induced to enter into this Agreement by any

      representation, promise, statement or warranty which is not expressly set forth in this

     Agreement.

             16)    Nothing in this Agreement shall be construed as giving any person, firm,

      corporation or other entity, including Princeton Excess and Surplus Lines Insurance

      Company, other than the signatory parties hereto, and their respective successors and

      permitted assigns, any right, defense, remedy or claim under or in respect to this

      Agreement or any provision hereof.

             17)    For all purposes of this Agreement, time is of the essence.

             18)    The parties acknowledge and agree that all parties and their counsel

      participated in negotiating and drafting this Agreement, no rule of construction shall

      apply to this Agreement which construes any language, whether ambiguous, unclear

                                                   5
Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 6 of 15




     otherwise, in favor of, or against, any party by reason of the party's role in drafting this

     Agreement.

            WHEREFORE, the Defendants Pawn Shop Lounge Palm Beach, LLC, and OM

     Ventures USA, LLC, d/b/a Dirty Martini, knowingly, voluntarily, and with the advice of

     counsel, consents to a Final Judgment in favor of the Plaintiffs, Eva Pepaj, Tiffany Toth,

     Jessica Hinton, a/kla Jessa Hinton, Brooke Johnson, a/kla Brook Taylor, Jesse Golden,

     Danielle Ruiz, Jennifer Zharinova, and Paola Canas. In other words, the sums set forth in

     paragraph 5 of this Final Consent Judgement, collectively, is the total amount of the

     judgment and there will be no additional claims against Defendants by the Plaintiffs.

     Further, this Court reserves jurisdiction to determine the validity of this Final Consent

     Judgment.




                             [SIGNATURES ARE ON THE NEXT PAGE]




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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 7 of 15




  ~USA, LLC, Representative
~tUres                                                 Date:

        /~
  ~L
~. Shop Lounge Palm Beach, LLC Representative          Date




     Eva Pepaj                                         Date



     Tiffany Toth                                      Date



     Jessica Hinton                                    Date



     Brooke Johnson                                    Date



     Jesse Golden                                      Date




     Danielie Ruiz                                     Date



     Jennifer Zharinova                                Date



     Paola Canas                                       Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 8 of 15




     DM Ventures USA, LLC, Representative              Date:




     Pawn Shop Lounge Palm Beach, LLC Representative   Date



                                                         May 27,2016

     Eva Pepaj                                         Date



     Tiffany Toth                                      Date



     Jessica Hinton                                    Date



     Brooke Johnson                                    Date



     Jesse Golden                                      Date



     Danielle Ruiz                                     Date



     Jennifer Zharinova                                Date



     Paola Canas                                       Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 9 of 15




     OM Ventures USA, LLC, Representative                         Date:




     Pawn Shop Lounge Palm Beach, LLC Representative              Date




     Eva Pepaj                                                    Date



     ~6                                                           Date
                                                                          06/01/16



      Jessica Hinton                                              Date



      Brooke Johnson                                              Date



      Jesse Golden                                                Date



      Danielle Ruiz                                               Date



      Jennifer Zharinova                                          Date



      Paola Canas                                                 Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 10 of
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     OM Ventures USA, LLC, Representative              Date:




     Pawn Shop Lounge Palm Beach, LLC Representative   Date




     Eva Pepaj                                         Date



     Tiffany Toth                                      Date

                                                          6/1/2016


     Jessica Hinton                                    Date



     Brooke Johnson                                    Date



     Jesse Golden                                      Date



     Danielle Ruiz                                     -Date



     Jennifer Zharinova                                Date



     Paola Canas                                       Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 11 of
                                      15




    OM Ventures USA, LLC, Representative              Date:




    Pawn Shop Lounge Palm Beach, LLC Representative   Date




    Eva Pepaj                                         Date




                                                      Date

                                                      05/27/16
    Brooke Johnson                                    Date



     Jesse Golden                                     Date



     Danielle Ruiz                                    Date



     Jennifer Zharinova                               Date



     Paola Canas                                      Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 12 of
                                      15




     OM Ventures USA, LLC, Representative              Date:




     Pawn Shop Lounge Palm Beach, LLC Representative   Date




     Eva Pepaj                                         Date



     Tiffany T oth                                     Date



     Jessica Hinton                                    Date



                                                       Date



                                                       Date



     Danielle Ruiz                                     Date



     Jennifer Zharinova                                Date



     Paola Canas                                       Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 13 of
                                      15




     DM Ventures USA, LLC, Representative              Date:




     Pawn Shop Lounge Palm Beach, LLC Representative   Date




     Eva Pepaj                                         Date



     Tiffany Toth                                      Date



     Jessica Hinton                                    Date



     Brooke Johnson                                    Date



     Jesse Golden         ~                            Date

~ }J\)~:s                           -                     6-3-16
I~RUiZ                                                 Date



     Jennifer Zharinova                                Date



     Paola Canas                                       Date



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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 14 of
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                                                   Date



                                                   Date



                                                  . Date




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Case 9:15-cv-81724-DTKH Document 23-1 Entered on FLSD Docket 08/09/2016 Page 15 of
                                      15




   DM Ventures USA, LLC, Representative              Date:




   Pawn Shop Lounge Palm Beach, LLC Representative   Date




   Eva Pepaj                                         Date



   Tiffany Toth                                      Date



   Jessica Hinton                                    Date



   Brooke Johnson                                    Date



   Jesse Golden                                      Date



    Danielle Ruiz                                    Date



    Jennifer Zharinova                               Date



    Paola Canas                                      Date



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